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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
JOSEPH L. GARCES                                             CASE NUMBER

                                                                     2:21-cv-06730-FLA-PVC
                                              PLAINTIFF(S)
                   v.
CITY OF SANTA PAULA, et al.                                   RESPONSE BY THE COURT TO NOTICE TO
                                                                   FILER OF DEFICIENCIES IN
                                           DEFENDANT(S).       ELECTRONICALLY FILED DOCUMENTS


In accordance with the Notice to Filer Of Deficiencies In Electronically Filed Documents

REGARDING:


       9/30/2021                       15                       Service of Summons and Complaint Returned ...
       Date Filed                      Doc. No.                 Title of Doc.      Executed (21 days).


IT IS HEREBY ORDERED:

       G The document is accepted as filed
       ✔ The document is stricken and counsel is ordered to file an amended or
       G
         corrected document by October 1, 2021                                 .
       G The hearing date has been rescheduled to                                           at
       G Other




                                                             Clerk, U.S. District Court




Dated: October 1, 2021                                       By: T. Freeman
                                                                 Deputy Clerk


cc: Assigned District Judge and/or Magistrate Judge



              RESPONSE BY THE COURT TO NOTICE TO FILER OF DEFICIENCIES IN ELECTRONICALLY FILED DOCUMENTS
G-112B (01/07)
